Case 1:19-cv-04746-GBD Document 45

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MARGARITO FERNANDEZ RODRIGUEZ individually EY
and on behalf of others similarly situated, :
Plaintiff,
-against- : ORDER
SMA DELI GROCERY, CORP. d/b/a CASA DORO 19 Civ. 4746 (GBD)

GOURMET DELI, MOHAMED ALROBYE a/k/a
MOHAMED ALROBEAL, AHMED ALROBYE a/k/a
AHMED ALROBEAL, SHAREQI DOE, SHARIF
OTHMAN, JAMAL OTHMAN,

Defendants.

GEORGE B. DANIELS, District Judge:
The final pretrial conference scheduled to occur on October 20, 2020 at 9:45 a.m. is hereby

cancelled.

Dated: October 19, 2020
New York, New York
SO ORDERED.

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CeRG B. DANIELS
TED STATES DISTRICT JUDGE

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